                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

   NASH HOSPITALS, INC.,

              Plaintiff,
                                                   Civil Action No.: 25-cv-00038
   v.
                                                   Hon. Louise Wood Flanagan
   UNITED HEALTHCARE OF NORTH CAROLINA,
   INC.; UNITED HEALTHCARE INSURANCE
   COMPANY OF THE RIVER VALLEY; and
   UNITED HEALTHCARE INSURANCE
   COMPANY,

              Defendants.



 PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REMAND THE CASE
 TO THE NORTH CAROLINA GENERAL COURT OF JUSTICE, SUPERIOR COURT
                             DIVISION




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       Plaintiff Nash Hospitals, Inc. (“UNC Health Nash”) respectfully submits this

Memorandum in Support of Plaintiff’s Motion to Remand the Case to the North Carolina General

Court of Justice, Superior Court Division (“Motion”) and in response to the Notice of Removal

filed by Defendants UnitedHealthcare Insurance Company of the River Valley, UnitedHealthcare

of North Carolina, Inc., and UnitedHealthcare Insurance Company, Inc. (collectively, “United” or

“Defendants”) in this action.

            I.      INTRODUCTION AND SUMMARY OF THE ARGUMENT

       As both parties recognize, this is fundamentally a breach of contract case involving a

private agreement between UNC Health Nash and United. See ECF No. 1, ¶ 2 (“Notice of

Removal”); see also generally ECF No. 1-1 (“State Court Complaint”). UNC Health Nash’s other

theories of liability stem from its breach of contract claim. See State Court Complaint, ¶¶ 40, 44,

50, 65, 72-74, 79-81, 88-90 (premising liability on United’s failure to properly pay UNC Health

Nash for services rendered to United’s members).

       UNC Health Nash does not challenge the validity of any federal statute, rule, or regulation,

nor does UNC Health Nash assert any right to relief under federal law. See generally State Court

Complaint. Further, there are no federal dollars at stake. See infra Section IV.A.1. And because

the parties’ agreement is unique between them, the outcome of this litigation will only directly

affect UNC Health Nash and United. See infra Section IV.A.3. It is true that the parties’ agreement

refers to a federally promulgated payment schedule; however, federal courts have held this to be

insufficient to create a federal question. See infra Section IV.A.1. Moreover, a federal district

court recently remanded a nearly identical breach of contract claim asserted by another

provider against United. See NYU Langone Hosps. v. UnitedHealthcare Ins. Co., No. 24-cv-

04803, 2025 WL 252454, *1-3 (S.D.N.Y. Jan. 21, 2025). This Court should adopt the Southern

District of New York’s approach, as allowing United’s removal to stand would risk enormous
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disruption of the division of labor between the federal and state judiciary and would open the

floodgates to removal of many state law claims. See infra Section IV.A.4.

       At bottom, this is a straightforward dispute about payment terms in a private agreement.

Thus, the Court should remand this action to the North Carolina General Court of Justice, Superior

Court Division, where it was originally filed. The references to Federal law in the payment terms

are references to settled Federal law, as described below.

                              II.    FACTUAL BACKGROUND

       A.      The 340B Program

       The 340B drug pricing program (“340B Program”) is designed to protect eligible hospitals

from escalating prescription drug prices. Am. Hosp. Ass’n v. Becerra, 596 U.S. 724, 730 (2022).

It allows participating hospitals—including UNC Health Nash—to acquire certain prescription

drugs from manufacturers at discounted rates, enabling those hospitals to provide comprehensive

critical care services to “uninsured and underinsured in low-income and rural communities.” See

id. at 730, 731; State Court Complaint, ¶¶ 19-22.

       B.      Prescription Drug Pricing Under the OPPS

       The Department of Health and Human Services (“HHS”) administers the Medicare

program, including the 340B Program, through the Centers for Medicare and Medicaid Services

(“CMS”).    For services rendered to members of “original” or “traditional” Medicare—i.e.,

Medicare Parts A and B—CMS reimburses hospitals according to the Outpatient Prospective

Payment System (“OPPS”). 42 U.S.C. § 1395l(t).

       For prescription drugs, CMS may set OPPS reimbursement rates in one of two ways.

Under Option 1, CMS may conduct a survey of hospitals’ “acquisition costs” for each covered

drug and set reimbursement rates based on the average cost. 42 U.S.C. § 1395l(t)(14)(A)(iii)(I);

see also id. § 1395l(t)(14)(D) (requirements for conducting surveys of hospitals’ drug acquisition

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costs). Where an acquisition cost survey is conducted, CMS may set different reimbursement rates

for different “hospital group[s].” Id. § 1395l(t)(14)(A)(iii)(I); see also Am. Hosp. Ass’n, 596 U.S.

at 728. In other words, CMS may differentiate between 340B and non-340B hospitals under

Option 1.

        Option 2 applies where CMS has not conducted a survey of hospitals’ acquisition costs.

42 U.S.C. § 1395l(t)(14)(A)(iii)(II). Under Option 2, CMS must set reimbursement rates based on

“the average price” charged by manufacturers for the drug, as “calculated and adjusted by the

Secretary as necessary[.]” Id.; see also Am. Hosp. Ass’n, 596 U.S. at 729. The statute sets “the

average price” at 106 percent of the drug’s average sales price (“ASP”).              42 U.S.C. §

1395l(t)(14)(A)(iii)(II) (citing 42 U.S.C. § 1395w-3a); Am. Hosp. Ass’n, 596 U.S. at 729. Notably,

under Option 2, CMS cannot set different rates for 340B and non-340B hospitals. See 42 U.S.C.

§ 1395l(t)(14)(A)(iii)(II); Am. Hosp. Ass’n, 596 U.S. at 729.

        C.     CMS’ Improper Payment Reduction

        For years, CMS uniformly set OPPS prescription drug reimbursement rates at 106% of the

drug’s ASP and did not set different reimbursement rates for 340B and non-340B hospitals (under

Option 2). See Am. Hosp. Ass’n, 596 U.S. at 729. But in 2018, CMS abruptly cut the OPPS

prescription drug reimbursement rates for 340B hospitals to ASP minus 22.5%, i.e., a 30%

reduction. Id. at 729-31. Critically, CMS did so without surveying hospitals’ acquisition costs.

Id. at 729.

        In response, the American Hospital Association (along with two other hospital industry

groups and several hospitals) filed suit against CMS, alleging the rate reductions had unlawfully

deprived 340B hospitals of roughly $1.6 billion annually. Id. at 731-32. Eventually, the case came

before the Supreme Court, which unanimously held that CMS exceeded its authority by setting

different reimbursement rates for 340B and non-340B hospitals, rendering the rate reductions
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unlawful. Id. at 725; State Court Complaint, ¶ 25. The Supreme Court then remanded the case to

the district court, which vacated the OPPS reimbursement rate for 340B hospitals in the calendar

year 2022 OPPS final rule, prospectively restoring the default reimbursement rate of 106% of ASP

for 340B and non-340B hospitals. Am. Hosp. Ass’n v. Becerra, No. 18-cv-02084, 2022 WL

4534617, at *5 (D.D.C. Sept. 28, 2022). However, the district court did not address the unlawful

rate reductions against 340B hospitals from January 1, 2018 to September 27, 2022 (the “Improper

Payment Period”). 88 Fed. Reg. 77150, 77185 (Nov. 8, 2023).

       D.     CMS’ 2023 Supplemental Guidance Provides for a Second Prospective
              Payment.

       Subsequently, on November 8, 2023, CMS issued subsequent guidance (the “2023

Supplemental Payment Guidance”) requiring a second, prospective payment to balance out the

underpayments applicable to the Improper Payment Period. 88 Fed. Reg. at 77150; State Court

Complaint, ¶ 27. The Supplemental Payment Guidance announced that CMS would make one-

time, lump-sum payments to 340B hospitals (including UNC Health Nash) equal to “the difference

between what they were paid for 340B drugs” during the Improper Payment Period and “what they

would have been paid had the [unlawful] 340B Payment Policy not applied.” 88 Fed. Reg. at

77156-67; State Court Complaint, ¶ 27.

       E.     Medicare Advantage Organizations

       Under Medicare Advantage (also known as Medicare Part C), private health insurers—like

Defendants here—contract with CMS to offer benefit plans to Medicare-eligible beneficiaries.

State Court Complaint, ¶¶ 13-14. These private health insurers are known as Medicare Advantage

Organizations (“MAOs”). Id. at ¶ 13. MAOs commonly enter private contracts with health care

providers, like UNC Health Nash, to provide services to their members. See 42 U.S.C. § 1395w-

25(b)(4); State Court Complaint, ¶ 15. Among other terms, these contracts include negotiated


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reimbursement rates for covered services, just like their contracts covering commercial insureds

do. Id. at ¶ 16.

        F.      UNC Health Nash’s Agreement with Defendants

        UNC Health Nash participates in Defendants’ benefits plans under a Facility Participation

Agreement (the “Agreement”), which was effective June 1, 2001, and has been subject to several

amendments. Id. at ¶ 5. Under the Agreement, UNC Health Nash provides health care services

to Defendants’ members in exchange for reimbursement by Defendants at negotiated rates. Id. at

¶ 16. For all pharmaceuticals purchased under the 340B Program and provided to Defendants’

members in a UNC Health Nash hospital outpatient department, the Agreement provides that

Defendants will reimburse UNC Health Nash at a percentage of the rate required to be paid for

such pharmaceuticals under the Medicare program. Id. at ¶ 21. Under the Medicare program,

those pharmaceuticals are reimbursed under OPPS, which, as explained above, is the statutorily

mandated outpatient prospective payment system. Notice of Removal, ¶ 27. CMS rules and CMS’

methodology are therefore the rules and methodology that the statute allows CMS to employ as a

government agency whose authority is circumscribed by law. In light of the AHA decision and the

2023 Supplemental Payment Guidance, applicable law allows only one payment rate, and that is

ASP plus 6%. United does not, and cannot, disagree with that premise.

        G.      Defendants Refuse to Correct Underpaid 340B Drug Claims

        CMS issued the 2023 Supplemental Payment Guidance in November 2023, thereby

causing lump-sum payments to 340B hospitals to be made as part of the 2024 payment cycle. 88

Fed. Reg. at 77155-56. But despite having agreed to reimburse UNC Health Nash at the same rate

that CMS is required by OPPS laws to reimburse the hospital—Defendants have refused to make

corresponding payments.



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       H.      Procedural History

       On November 22, 2024, UNC Health Nash commenced an action in the North Carolina

General Court of Justice, Superior Court Division, bringing claims for breach of contract, specific

performance, declaratory relief, unfair competition, breach of fiduciary duty, constructive fraud,

and breach of the duty of good faith and fair dealing. See generally State Court Complaint; see

also Notice of Removal, ¶ 4. On January 27, 2025, United removed the case to the U.S. District

Court for the Eastern District of North Carolina, alleging federal question jurisdiction under 28

U.S.C. § 1331 and supplemental jurisdiction under 28 U.S.C. § 1367. See Notice of Removal.

                                  III.     LEGAL STANDARD

       Federal courts have original jurisdiction over civil actions “arising under the Constitution,

laws, or treaties of the United States” (i.e., federal question jurisdiction). 28 U.S.C. § 1331. As a

corollary, 28 U.S.C. § 1441(a) allows for removal to federal court of “any civil action brought in

a State court of which the district courts of the United States have original jurisdiction.” But it is

well-settled that federal courts are “courts of limited jurisdiction” that “possess only that power

authorized by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,

377 (1994) (citations omitted).

       “Because removal jurisdiction raises significant federalism concerns,” courts “must strictly

construe removal jurisdiction.” Mulcahey v. Columbia Organic Chems. Co., 29 F.3d 148, 151 (4th

Cir. 1994); Burrell v. Bayer Corp., 918 F.3d 372, 380-81 (4th Cir. 2019); Barbour v. Int’l Union,

594 F.3d 315, 326 (4th Cir. 2010). If federal jurisdiction is doubtful, a remand will be necessary.

Mulcahey, 29 F.3d at 151; Barbour, 594 F.3d at 326. To that end, “[t]he burden of establishing

federal jurisdiction is placed upon the party seeking removal.” Mulcahey, 29 F.3d at 151 (citation

omitted); Burrell, 918 F.3d at 380-81. “Any doubt” as to the existence of federal jurisdiction “is



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resolved against [the defendant], which bears the burden of establishing jurisdiction.” See Burrell,

918 F.3d at 384, 388.

       Where, as here, a complaint pleads only state law causes of action, there is only a “slim

category of cases” for which federal question jurisdiction will still exist under 28 U.S.C. § 1331

because “the plaintiff’s right to relief necessarily depends on resolution of a substantial question

of federal law.” Mayor & City Council of Baltimore v. BP P.L.C., 31 F.4th 178, 208 (4th Cir.

2022) (quotations and citations omitted). The Fourth Circuit has warned that “courts must be

‘cautious’ exercising this form of jurisdiction because it lies at the ‘outer reaches of § 1331.’” Id.

(citations omitted).

       As a method to ensure complaints alleging solely state law claims are not in federal court

when they merely implicate federal issues, the Supreme Court established a four-prong test to

determine the existence of federal question jurisdiction in such circumstances. Id. at 209. Under

that test, “[f]ederal-question jurisdiction exists over a state-law claim if a federal issue is: ‘(1)

necessarily raised, (2) actually disputed, (3) substantial, and (4) capable of resolution in federal

court without disrupting the federal-state balance approved by Congress’” (the “Grable-Gunn

Test”). Id. (quoting Gunn v. Minton, 568 U.S. 251, 258 (2013); Grable & Sons Metal Prods. v.

Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005)). This is not a balancing test; therefore,

jurisdiction lies only “where all four of these requirements are met.” Gunn, 568 U.S. at 258. This

is a restrictive standard, and as the Supreme Court has made clear, the “mere presence of a federal

issue in a state cause of action does not automatically confer federal-question jurisdiction.”

Merrell Dow Pharms., Inc. v. Thompson, 478 U.S. 804, 813 (1986) (emphasis added) (citations

omitted). So “if a claim is supported not only by a theory establishing federal subject matter

jurisdiction but also by an alternative theory which would not establish such jurisdiction, then



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federal subject matter jurisdiction does not exist.” Mulcahey, 29 F.3d at 153 (citing Christianson

v. Colt Indus. Operating Corp., 486 U.S. 800, 811 (1988)).

       Separately, the supplemental jurisdiction statute “authorizes a federal court to hear state-

law claims that, independently, would not satisfy subject matter jurisdictional requirements,

provided the overall action contains at least one claim that does satisfy the requirement [of] original

jurisdiction.” Vick v. UNC Health Nash Hosps., Inc., 756 F. Supp. 2d 690, 692 (E.D.N.C. 2010)

(citing 28 U.S.C. § 1367(a)). It is “not ‘an independent source of removal jurisdiction.’” Vick,

756 F. Supp. 2d at 693 (quoting In re Estate of Tabas, 879 F. Supp. 464, 467 (E.D. Pa. 1995)).

                                       IV.     ARGUMENT

       Defendants cannot carry their burden as to any of the four prongs in the Grable-Gunn Test;

thus, there is no federal question jurisdiction. Moreover, because supplemental jurisdiction is “not

an independent source of removal jurisdiction,” Vick, 756 F. Supp. 2d at 693, supplemental

jurisdiction cannot prevent remand. Therefore, the Court should remand this action to state court.

       A.      The Court Lacks Federal Question Jurisdiction Over These State-Law
               Disputes.

       Given that UNC Health Nash has raised only state-law claims in this action, Defendants

have the burden to show that a federal issue is (1) necessarily raised, (2) actually disputed, (3)

substantial, and (4) capable of resolution in federal court without disrupting the federal-state

balance approved by Congress. Gunn, 568 U.S. at 258. Here, Defendants cannot carry their

burden as to any of the four prongs of that Grable-Gunn Test, let alone all four.

       To attempt to carry their burden, Defendants contend that UNC Health Nash’s claims

necessarily raise a federal issue. See Notice of Removal, ¶¶ 11-30. But Defendants’ position rests

on the false premise that, to prevail, UNC Health Nash “must prove that United violated Medicare

rules and regulations.” Id. at ¶ 24. In reality, Medicare law merely provides a framework for


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explaining how payment terms in the Agreement that cross-reference terms in Medicare law are

to be interpreted. See State Court Complaint, ¶¶ 12-33. It is the way the terms are used in the

Agreement that matters, and not some question regarding whether United generally complies with

whatever Medicare laws apply to it directly. Thus, to prevail on its claims, UNC Health Nash need

only prove that Defendants failed to honor the negotiated reimbursement rates contained in the

Agreement. The simple fact that such rates are tied to a federal benchmark does not transform a

straightforward state law claim into a federal question. See, e.g., Hill v. Pikeville Med. Ctr., Inc.,

No. 16-cv-00276, 2017 WL 690535, at *4 (E.D. Ky. Feb. 21, 2017) (“Were the Court to keep this

case simply because [the] contract mentions [Work Relative Value Units], then any contract tying

compensation to that national benchmark would all of a sudden raise a federal issue. . . . By the

same logic, any contract tying compensation to any national benchmark (like the Consumer Price

Index) would become federalized, too. That would mark a ‘dramatic shift’ in the balance of state

and federal judicial power.” (citing Eastman v. Marine Mech. Corp., 438 F.3d 544, 553 (6th Cir.

2006)) (emphasis in original)).

       More to the point, the U.S. District Court for the Southern District of New York

recently remanded a nearly identical breach of contract claim asserted by a provider against

United. NYU Langone, 2025 WL 252454, at *1-3. The court found the provider’s claims arose

under state law and would have “no binding impact on future interpretation of any federal statute

or rule” and further that the “statute and rules governing reimbursement of 340B hospitals are

tangential to the core dispute and hence insubstantial.” Id. at *2. So, too, here, the outcome of

this matter will have no bearing on how courts, Federal or otherwise, interpret the provisions of

the Agreement insofar as original Medicare is concerned.




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       Thus, as in NYU Langone, federal question jurisdiction does not exist for any of the state-

law claims that UNC Health Nash has raised.

               1.      The Purported Federal Issue Is Not “Necessarily Raised.”

       To meet the first prong of the Grable-Gunn Test, United must establish that UNC Health

Nash’s state-law claims “hinge on the determination of a federal issue.” Vlaming v. West Point

Sch. Bd., 10 F.4th 300, 306 (4th Cir. 2021). That is, a federal issue must be a “‘necessary element’

of one of the pleaded state-law claims” within UNC Health Nash’s complaint. Mayor & City

Council, 31 F.4th at 209 (quoting Burrell, 913 F.3d at 381). As a corollary, the Fourth Circuit has

recognized that “every legal theory” supporting a state-law claim must “require[] the resolution of

a federal issue.” Dixon v. Coburg Dairy, Inc., 369 F.3d 811, 816 (4th Cir. 2004) (citations omitted)

(emphasis in original). If each of UNC Health Nash’s claims is supported by at least one state-

law theory that does not require recourse to federal law, then those claims do not “arise under”

federal law—even if an alternative federal-law theory existed that could separately prove liability.

Burrell, 918 F.3d at 383 (citations omitted).

       United’s Notice of Removal mischaracterizes UNC Health Nash’s claims in an attempt to

manufacture a federal issue. But UNC Health Nash’s State Court Complaint is clear that its rights

to relief are a creature of contract and intertwined state law, all of which turns on the proper

interpretation of the parties’ Agreement.       The validity of the 2023 Supplemental Payment

Guidance is not at issue. Rather, UNC Health Nash merely asserts that the 2023 Supplemental

Payment Guidance triggered United’s contractual obligation to follow CMS’ actions. A court

need not resolve any federal issue to determine whether the Agreement imposes this obligation on

United (or whether failure to abide by that obligation constitutes a breach of contract, an unfair or

deceptive act, a breach of fiduciary duty, constructive fraud, or a breach of the duty of good faith

and fair dealing). In fact, in the 340B Final Rule, CMS explicitly stated:
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               CMS may not require MAOs to contract with a particular healthcare
               provider or use particular pricing structures with their contracted
               providers. Therefore, MAOs that contract with a provider or facility
               for eligible 340B drugs can negotiate the terms and conditions of
               payment directly with the provider or facility and CMS cannot
               interfere in the payment rates that MAOs set in contracts with
               providers and facilities.

88 Fed. Reg. at 77184.

       United recognizes that this is essentially a breach of contract case. See Notice of Removal,

¶ 2. But in an attempt to conjure federal question jurisdiction, United mistakenly asserts that “UNC

Health Nash must prove that United violated Medicare rules and regulations.” Id. at ¶ 24. United’s

mistaken assertion comes from the fact that the reimbursement rates at issue in the Agreement are

tied to a federal benchmark—CMS’ OPPS. See State Court Complaint, ¶¶ 20-21. But the fact that

a contractual reimbursement rate is tied to a federal benchmark does not transform a

straightforward state law claim into a federal question. See, e.g., Hill, 2017 WL 69035, at *4

(“[Plaintiff] has merely pled claims relating to a contract that references a unit of measurement

[Work Relative Value Units] that a federal agency happens to promulgate. To resolve any claims

involving [this unit of measurement] a court would not need to answer a substantial question of

federal law”). Under United’s flawed jurisdictional theory, any dispute involving mere reference

to any federal benchmark would necessarily raise a federal issue. Such a result would directly




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implicate the “significant federalism concerns” that courts consider in strictly construing removal

jurisdiction. Mulcahey, 29 F.3d at 151. 1

        United’s Notice of Removal also makes much of UNC Health Nash’s “repeated[]

references [to] federal law” and UNC Health Nash’s assertion that United’s actions “violate the

Agreement and applicable law.” Notice of Removal, ¶¶ 13, 23 (emphasis in original). United

contends that, as a result, UNC Health Nash’s claims arise “at least in part on the alleged violation

of federal law[.]” Id. at ¶ 14. But this contention misconstrues UNC Health Nash’s allegations.

UNC Health Nash does not rely on any federal theory; rather, it contends that United’s failure to

make UNC Health Nash whole runs afoul of the parties’ Agreement and the state—not federal—

law, which governs the interpretation of the Agreement.

        Even assuming arguendo that United were correct in its contention that UNC Health

Nash’s claims arise “at least in part on the alleged violation of federal law,” id., it is black-letter

law that where, as here, a plaintiff’s claims are independently supported by a state-law theory that

does not require recourse to federal law, those claims do not “arise under” federal law. Burrell,

918 F.3d at 383 (citations omitted); Dixon, 369 F.3d at 816; Mulcahey, 29 F.3d at 153. It is of no

moment whether certain of UNC Health Nash’s claims arguably have a federal-law theory (even

though they do not), because each of UNC Health Nash’s claims is supported by an independent




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  Notably, there are no federal dollars at stake in this matter—this is simply a payment dispute between
parties to a private contract. And such disputes do not create a federal question. See, e.g., Empire
Healthchoice Assur., Inc. v. McVeigh, 547 U.S. 677, 680, 698 (2006) (finding no federal jurisdiction over
claim purportedly arising under Federal Employees Health Benefits Act of 1959 (“FEHBA”), because
FEHBA did not encompass “contract-based reimbursement claims”); Tenet Healthsystem GB, Inc. v. Care
Improvement Plus S. Cent. Ins. Co., 875 F.3d 584, 591 (11th Cir. 2017) (“A contract provider’s claims are
determined entirely by reference to the written contract, not the Medicare Act.”); RenCare, Ltd. v. Humana
Health Plan of Tex., Inc., 395 F.3d 555, 558 (5th Cir. 2004) (finding no federal-question jurisdiction
because “[i]rrespective of who ultimately prevails, the government will not receive or pay out funds. The
dispute is solely between [the MAO] and [the provider] and is based on the parties’ privately-agreed-to
payment plan”).

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state-law theory. Specifically, UNC Health Nash asserts that United—having contractually agreed

to tie payments under the Agreement to CMS’ OPPS payments—breached the Agreement when it

failed to issue supplemental payments to UNC Health Nash after CMS made supplemental

payments under original Medicare (“Breach of Contract Claim”). See NYU Langone, 2025 WL

252454, at *2 (finding no federal question existed where a provider disputed a nearly identical

provision in another United MAO-Provider agreement). And each of UNC Health Nash’s other

claims has a state-law theory based on that Breach of Contract Claim. See State Court Complaint,

¶¶ 40, 44, 50, 65, 72-74, 79-81, 88-90 (premising liability on United’s failure to properly pay UNC

Health Nash for services rendered to United’s members).

       For all these reasons, the Court should find that UNC Health Nash’s claims do not

“necessarily raise” a federal issue. On this ground alone, the case is ripe for remand to state court.

               2.      The Purported Federal Issue Is Not “Actually Disputed.”

       The second prong of the Grable-Gunn Test requires United to show that the federal issue

is “the central point of dispute between the parties.” Gunn, 568 U.S. at 258. The Supreme Court

has long held that a federal issue will not generate federal-question jurisdiction where the issue is

“no longer open to discussion.” McGilvra v. Ross, 215 U.S. 70, 80 (1909); Hagans v. Lavine, 415

U.S. 528, 536-37 (1974) (citing McGilvra for the same).

       Here too, United relies on the mistaken notion that UNC Health Nash’s claims are premised

on a violation of federal law, rather than a breach of contract. See Notice of Removal, at ¶¶ 24-

25. United’s position fails for all the reasons set forth at Section IV.A.1, supra. United ignores

that UNC Health Nash’s State Court Complaint alleges the 2023 Supplemental Payment Guidance

triggered a contractual obligation on the part of United, and that United failed to comply with that

duty, which led to underpayments (and, in turn, violated not only the Agreement, but various state

statutes and duties). See generally State Court Complaint.
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       Setting United’s mistaken assertions aside, there can be no actual dispute here because the

federal “issues” United points to—the Supreme Court’s holding in Am. Hosp. Ass’n v. Becerra

and the 340B Final Rule—are “no longer open to discussion.” McGilvra, 215 U.S. at 80. UNC

Health Nash and United do not actually dispute the Supreme Court’s holding or the 2023

Supplemental Payment Guidance. What they actually dispute is whether, as a matter of contract

interpretation, the Agreement requires United to make UNC Health Nash whole for underpaying

it during the Improper Payment Period by virtue of incorporating CMS’ OPPS as a benchmark for

payments. In other words, the parties dispute United’s compliance with payment obligations under

a private contract governed by state law. This is not a federal question. See, e.g., Empire, 547

U.S. at 680; RenCare, 395 F.3d at 558; NYU Langone, 2025 WL 252454, at *2; Hill, 2017 WL

690535, at *2, 4 (each concluding that no federal question jurisdiction existed where the plaintiff’s

ultimate relief was contract-based).

       For all these reasons, the Court should find that any federal issue is not “actually disputed”

and remand to state court.

               3.      The Purported Federal Issue Is Not “Substantial.”

       Even if United could show that UNC Health Nash’s state-law claims necessarily raise some

disputed federal issue (they do not), United must still show that the federal issue is “substantial,”

indicating a “serious federal interest in sending the case to a federal forum[.]” Burrell, 918 F.3d

at 384 (quotations and citation omitted). Courts have recognized that substantiality presents a

“high bar” for a defendant seeking to remove claims. Id. at 385. For a federal issue to be

substantial, it is not enough that the issue be significant to the particular parties in an immediate

suit. Gunn, 568 U.S. at 260. What matters for substantiality is “the importance of the issue to the

federal system as a whole.” Id. In contrast to cases implicating broad consequences for the federal

system, cases that are “‘fact-bound and situation-specific’ (such as cases involving the
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administration of private contracts) ‘are not sufficient to establish federal [question] jurisdiction.’”

Id. at 263 (quoting Empire, 547 U.S. at 701).

       Contrary to United’s suggestion, UNC Health Nash’s claims do not “implicate[] the

reimbursement schemes created by Medicare law” because UNC Health Nash does not seek direct

payment under any Medicare rule or regulation. Notice of Removal, ¶ 27. Instead, UNC Health

Nash seeks payment under its Agreement, and therefore, its claims only implicate the “privately-

agreed-to payment plan” between UNC Health Nash and United. RenCare, 395 F.3d at 558.

Because this case hinges on the interpretation of a private contract, it raises no issues that “could

potentially affect the hundreds of [MAOs] that have contracted with CMS,” each with their own

unique payment terms. Notice of Removal, ¶ 27. The Agreement between UNC Health Nash and

United is unique to the parties in this lawsuit and thus, the outcome of this case will have few—if

any—ramifications for other cases involving standalone contracts between other MAOs and health

care providers. See NYU Langone, 2025 WL 252454, at *2 (holding the same on a similar

contract); Empire, 547 U.S. at 701 (finding no substantial federal question because plaintiff's

contract-based reimbursement claim was “fact-bound and situation-specific”); AMTAX Holdings

227, LLC v. CohnReznick LLP, 736 F. Supp. 3d 169, 181 (S.D.N.Y. 2024); (finding no substantial

federal question where the dispute involved “the parties’ interpretation of a sui generis contract”);

Hill, 2017 WL 690535, at *3-4 (finding no substantial federal question in contract dispute

involving application of a federal standard).

       Notably, the U.S. District Court for the Southern District of New York recently

weighed in on the substantiality of an alleged federal issue in another case where a provider

filed suit against United in state court for breach of contract based on nearly identical

language to the provisions at issue in the Agreement between UNC Health Nash and United.



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See NYU Langone, 2025 WL 252454, at *1-3. In holding that it lacked subject matter jurisdiction,

the district court found that the provider’s claims arose under state law and would have “no binding

impact on future interpretation of any federal statute or rule” and further that “[t]he statute and

rules governing reimbursement of 340B hospitals are tangential to the core dispute and hence

insubstantial.” Id. at *2.

       Here, as in NYU Langone, the Court should find that, to the extent that any federal issue is

necessarily raised or actually disputed, such issue is not substantial. See id. On this ground alone,

the case is ripe for remand to state court.

               4.      Exercising Jurisdiction Over UNC Health Nash’s Claims Would Disturb
                       the Balance of Federal and State Judicial Power.

       It follows from the foregoing that the fourth prong of the Grable-Gunn Test is also not met.

Gunn, 568 U.S. at 264. This fourth prong exists “to strike a balance between federal and state

judicial responsibilities,” by requiring the federal court to “give[] leeway to States in areas where

they possess ‘special responsibility[ies].’” Mayor & City Council, 31 F.4th at 209 (quoting Gunn,

568 U.S. at 264). And given that “plaintiffs so commonly incorporate an alleged violation of

federal standards into ‘garden variety state tort law’ complaints” regarding federally regulated

products and services, courts have warned that a “‘general rule of exercising federal jurisdiction

in those cases would herald[] a potentially enormous shift of traditionally state cases into federal

courts.’” Burrell, 918 F.3d at 386 (quoting Grable, 545 U.S. at 318-19). So too with participation

agreements between health care providers and MAOs, which commonly incorporate federal

benchmarks into their payment terms.

       United asserts that its jurisdictional theory “would not open the doors of the federal courts

whenever a breach of contract claim is related to Medicare claims.” Notice of Removal, ¶ 29

(citation omitted). But this assertion is dubious as United’s theory would arguably create a federal


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issue for any dispute involving contractual terms tied to federal benchmarking. Courts have

cautioned against such an expansive interpretation of 28 U.S.C. § 1331. See, e.g., Empire, 547

U.S. at 701 (holding no federal jurisdiction over a contract-based reimbursement dispute, and

noting “it is hardly apparent why a proper federal-state balance would place such a nonstatutory

issue under the complete governance of federal law, to be declared in a federal forum”); Burrell,

918 F.3d at 387 (“[T]here is no indication that Congress intended to divert a multitude of fact-

intensive, state-law suits against medical device manufacturers to federal court.”); Hill, 2017 WL

690535, at *4 (“[P]arties do not establish federal jurisdiction simply through referring to a federally

promulgated payment schedule in their contracts.”).

       United relies on Grable to support its argument on the fourth prong of the Grable-Gunn

Test. See Notice of Removal, ¶¶ 28-29. In doing so, however, United fails to acknowledge that

the case at issue is far more analogous to precedent that holds defendants failed to make the

required showing under the fourth prong. See Burrell, 918 F.3d at 386. In Burrell, the Fourth

Circuit distinguished Grable (dealing with quiet title actions, which “only rarely raise substantial

questions of federal law”) from Merrell Dow (dealing with “garden variety state tort” actions

involving federally regulated products—pharmaceuticals). Id. at 387 (citations omitted). The

Fourth Circuit recognized that “[e]xercising federal jurisdiction” over all “garden variety state tort”

actions involving federally regulated products “would risk enormous disruption to the division of

judicial labor, with a ‘tremendous number of cases’ shunted from state to federal court.” Id. at 387

(citations omitted). Thus, given that Burrell dealt with state tort claims over medical devices, the

Fourth Circuit determined that the defendant could not make the showing required under the fourth

prong of the Grable-Gunn Test. Id. at 385-87. As in Burrell and Merrell Dow, this case presents

garden variety state-law claims involving federally regulated pharmaceuticals. Id. at 387; Merrell



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Dow, 478 U.S. at 811-12. Finding federal jurisdiction here would risk a flood of cases being

“shunted from state to federal court.” Burrell, 918 F.3d at 387.

         For all the reasons set forth here and in Sections IV.A.1-3, supra, the Court should find

that United cannot carry its burden under the Grable-Gunn Test and remand this action to state

court.

         B.     The Court Should Decline to Exercise Supplemental Jurisdiction Over Any
                of UNC Health Nash’s Claims.

         Assuming the Court finds no federal question jurisdiction exists over UNC Health Nash’s

claims—as UNC Health Nash contends it should—the Court should decline to exercise

supplemental jurisdiction over any of UNC Health Nash’s claims. See, e.g., 28 U.S.C. § 1367(a)

(allowing for supplemental jurisdiction over claims only where “the district courts have original

jurisdiction”); Arrington v. City of Raleigh, 369 Fed. App’x 420, 423 (4th Cir. 2010) (noting that

Fourth Circuit precedents “evince a strong preference that state law issues be left to state courts in

the absence of diversity or federal question jurisdiction”); Vick, 756 F. Supp. 2d at 692 (noting the

supplemental jurisdiction statute “authorizes a federal court to hear state-law claims that,

independently, would not satisfy subject matter jurisdictional requirements, provided the overall

action contains at least one claim that does satisfy the requirement [of] original jurisdiction.”

(citing 28 U.S.C. § 1367(a)); Corley v. Vance, 365 F. Supp. 3d 407, 462-63 (“[G]iven that only

state-law issues remain in this case, comity dictates that the Court decline to decide those

disputes”). Supplemental jurisdiction is “not an independent source of removal jurisdiction,” Vick,

756 F. Supp. 2d at 693; thus, absent federal question jurisdiction, the Court should remand this

lawsuit to the state court from whence it came.




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                                     V.      CONCLUSION

       For all the foregoing reasons, UNC Health Nash respectfully requests that the Court issue

an Order remanding this action to the North Carolina General Court of Justice, Superior Court

Division, and granting such other and further relief as the Court deems just, equitable, or proper.

       Dated: April 7, 2025                          K&L GATES LLP

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                               RULE 7.2(f) CERTIFICATION

       I attest that the foregoing brief contains 5,774 words—as calculated by the word processing

software used to compose this brief—and therefore complies with the word limitation set forth in

Local Civil Rule 7.2(f).

                                                    /s/ Gary S. Qualls
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